
On December 1, 2017, the Director of the Office of Lawyers Professional Responsibility filed a petition for disciplinary action alleging that respondent Murad Mowaffak Mohammad committed professional misconduct warranting public discipline. On April 23, 2018, the Director filed a supplementary petition for disciplinary action. We referred the matter to a referee for findings of fact, conclusions, and recommendations for disposition. After a hearing, the referee found that respondent violated Minn. R. Prof. Conduct 1.3, 1.4, 1.7(a)(2), 1.15(a), 1.15(c)(3)-(5), 1.15(h), 1.16(d), 3.4(c), 4.1, 8.1(a)-(b), 8.4(c)-(d), and Rule 25, Rules on Lawyers Professional Responsibility (RLPR). The referee recommended that respondent be disbarred.
The Director has filed a request for interim suspension pursuant to Rule 16(e), RLPR. Respondent has not responded to the request for interim suspension.
Rule 16(e), RLPR, provides that, upon a referee's recommendation of disbarment, "the lawyer's authority to practice law shall be suspended pending final determination of the disciplinary proceeding, unless the referee directs otherwise or the Court orders otherwise."
Based upon all the files, records, and proceedings herein,
IT IS HEREBY ORDERED that respondent Murad Mowaffak Mohammad is *869temporarily suspended from the practice of law, effective as of the date of this order, pending final resolution of this matter. Respondent shall comply with Rule 26, RLPR (requiring notice of suspension to clients, opposing counsel, and tribunals).
BY THE COURT:
/s/ ______________________________
David L. Lillehaug
Associate Justice
